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              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN


MATTHEW KOTILA and ROBERT
CRAUN, individually and on behalf of all   Case No. 2:22-CV-00704-HYJ-RSK
others similarly situated,
                                           Hon. Hala Y. Jarbou

                  Plaintiffs,              Mag. Judge Ray S. Kent

      v.

CHARTER FINANCIAL PUBLISHING
NETWORK, INC.,


                  Defendant.

             PLAINTIFFS’ UNOPPOSED MOTION FOR
     PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
Case 1:22-cv-00704-HYJ-RSK ECF No. 46, PageID.1483 Filed 02/16/24 Page 2 of 45




      The undersigned counsel certifies that counsel communicated with counsel

for Defendant, via email on February 15, 2024, explaining the nature of the relief to

be sought by way of this motion and seeking concurrence in the relief; counsel for

Defendant has communicated that Defendant does not oppose this motion and the

relief requested herein.

      For the reasons set forth in Plaintiffs’ Brief in Support of their Unopposed

Motion for Preliminary Approval of Class Action Settlement, Plaintiffs respectfully

request that the Court: (1) grant preliminary approval of the Settlement Agreement;

(2) provisionally certify the Settlement Class under Fed. R. Civ. P. 23(b)(3) in

connection with the settlement process; (3) appoint E. Powell Miller of The Miller

Law Firm, P.C., Joseph I. Marchese and Philip L. Fraietta of Bursor & Fisher, P.A.,

and Frank S. Hedin and Arun G. Ravindran of Hedin LLP as Class Counsel; (4)

appoint Matthew Kotila and Robert Craun as the Class Representatives for the

Settlement Class; and (5) approve the Notice Plan for the Settlement described in

the Settlement Agreement and its Exhibits, as well as the specific Notice of Class

Action and Proposed Settlement (the “Proposed Notice”) and direct distribution of

the Proposed Notice. 1




1
     The Settlement Agreement and its exhibits are included in the accompanying
Supporting Brief.
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 Dated: February 16, 2024           Respectfully submitted,

                                    By: /s/ E. Powell Miller
                                    One of Plaintiffs’ Attorneys

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              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERNERN DISTRICT OF MICHIGAN


MATTHEW KOTILA and ROBERT
CRAUN, individually and on behalf of all   Case No. 2:22-CV-00704-HYJ-RSK
others similarly situated,
                                           Hon. Hala Y. Jarbou
                  Plaintiffs,              Mag. Judge Ray S. Kent

      v.

CHARTER FINANCIAL PUBLISHING
NETWORK, INC.,

                  Defendant.


   BRIEF IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
    PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                   STATEMENT OF ISSUES PRESENTED

      1.     Does the proposed Settlement Class meet Fed. R. Civ. P. 23’s

requirements for class certification for settlement purposes?

                   Plaintiffs’ Answer: Yes.

      2.     Should Plaintiffs’ Counsel be appointed as Class Counsel?

                   Plaintiffs’ Answer: Yes.

      3.     Should Plaintiffs Matthew Kotila and Robert Craun be appointed as

the Class Representatives for the Settlement Class?

                   Plaintiffs’ Answer: Yes.

      4.     Based on an initial evaluation, is the proposed Settlement fair,

adequate, and reasonable, sufficient to warrant notice to the proposed Settlement

Class?

                   Plaintiffs’ Answer: Yes.

      5.     Does the Notice Plan satisfy the requirements of Fed. R. Civ. P. 23

and Due Process?

                   Plaintiffs’ Answer: Yes.




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 I. INTRODUCTION

       The Settlement negotiated here by Plaintiffs and proposed Class Counsel

 (“Class Counsel”), brought under the Michigan Preservation of Personal Privacy Act

 (the “PPPA”), 1 represents an excellent per-class member recovery in a PPPA

 settlement. Pursuant to the Settlement Agreement, Defendant has agreed to pay

 $1,000,000 to establish an all-cash, non-reversionary Settlement Fund, equating to a

 per-Class Member aggregate recovery of $454, from which every Settlement Class

 Member (except for those who request for exclusion from the Settlement) will

 automatically receive (i.e., without having to file a claim form) a pro rata cash

 payment of approximately $265. The Settlement also provides meaningful

 prospective relief, as Defendant has agreed not to disclose any Michigan customer

 information to any third-party companies not related to the payment, production, or

 delivery of magazine subscription orders, without prior express written consent of

 the affected customers. Thus, if approved, the Settlement will provide meaningful

 relief to all Settlement Class Members, in a timely and streamlined manner.

       The Settlement is the product of efficiently-prosecuted litigation and

 extensive arm’s-length negotiations between the Parties, including a full-day

 mediation with Tom McNeill, Esq. of Tom McNeill ADR, PLLC. The Settlement


 1
       The version of the PPPA at issue in this case is found at H.B. 5331, 84th Leg.
 Reg. Sess., P.A. No. 378, §§ 1-4 (Mich. 1988), id. § 5, added by H.B. 4694, 85th
 Leg. Reg. Sess., P.A. No. 206, § 1 (Mich. 1989).

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 outperforms nearly every other prior PPPA settlement in terms of recovery per class

 member. Moreover, unlike many prior PPPA settlements, the Settlement here does

 not require Settlement Class Members to submit claim forms, and instead provides

 automatic cash payments to approximately 2,168 Settlement Class Members (except

 for any who choose to exclude themselves); thus, upon final approval, each

 Settlement Class Member will receive a cash payment of approximately $265, far

 exceeding the per-class member recovery in previous PPPA settlements. The

 automatic relief secured by the Settlement provides fair, reasonable, and adequate

 relief to the Settlement Class, and its terms and notice procedures readily satisfy due

 process and the procedural requisites of Rule 23.

       Moreover, the Settlement compares very favorably with settlements in similar

 cases. See, e.g., Perlin v. Time, Inc., No. 2:16-cv-10635 (E.D. Mich. July 5, 2018)

 (approving class settlement to pay between $25-50 per claimant); Coulter-Owens v.

 Rodale, Inc., No. 2:14-cv-12688 (E.D. Mich. May 3, 2016) (approving class

 settlement paying roughly $42 per claimant); Moeller v. Am. Media, Inc., No. 2:16-

 cv-11367 (E.D. Mich. June 8, 2017) (approving PPPA class settlement paying

 roughly $100 per claimant); Loftus v. Outside Integrated Media, LLC, No. 2:21-cv-

 11809 (E.D. Mich. Aug. 9, 2022) (approving PPPA class settlement paying roughly

 $50 per claimant); Kain v. The Economist Newspaper NA, Inc., No. 4:21-cv-11807

 (E.D. Mich. Mar. 16, 2023) (approving PPPA class settlement paying roughly $261



                                           2
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 per claimant); Strano v. Kiplinger Washington Editors, Inc., No. 1:21-cv-12987

 (E.D. Mich. Oct. 11, 2023) (approving class settlement paying roughly $248 per

 class member); Moeller v. The Week Publications, Inc., No. 1:22-cv-10666 (E.D.

 Mich. Oct. 11, 2023) (approving class settlement paying roughly $248 per class

 member); Pratt v. KSE Sportsman Media, Inc., No. 1:21-cv-11404, 2024 WL

 113755 (E.D. Mich. Jan. 10, 2024) (approving $9.5 million class settlement for a

 settlement class that included 14,503 persons and paid each class member

 approximately $415).

       Accordingly, the Court should have no hesitation granting preliminary

 approval here, and Plaintiffs respectfully request that the Court (1) grant preliminary

 approval of the Settlement Agreement; (2) provisionally certify the Settlement Class

 under Fed. R. Civ. P. 23(b)(3); (3) appoint E. Powell Miller of the Miller Law Firm,

 P.C., Joseph I. Marchese and Philip L. Fraietta of Bursor & Fisher, P.A., and Frank

 S. Hedin and Arun G. Ravindran of Hall LLP as Class Counsel; (4) appoint Matthew

 Kotila and Robert Craun as the Class Representatives for the Settlement Class; and

 (5) approve the Notice Plan for the Settlement described in the Settlement

 Agreement and its Exhibits, as well as the specific Notice of Class Action and

 Proposed Settlement (“Proposed Notice”), 2 and direct distribution of the Proposed

 Notice.


 2
       These are attached as Exhibits A-C to the Settlement Agreement.

                                           3
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 II.     BACKGROUND

  A. Michigan’s Preservation of Personal Privacy Act

         The Michigan legislature passed the PPPA to preserve personal “privacy with

 respect to the purchase, rental, or borrowing of written materials.” Complaint (ECF

 No. 1) (“Compl.”). As such, the PPPA (as it existed until July 30, 2016) provides

 that:

               a person, or an employee or agent of the person, engaged
               in the business of selling at retail . . . books or other written
               materials . . . shall not disclose to any person, other than
               the customer, a record or information concerning the
               purchase . . . of those materials by a customer that indicates
               the identity of the customer.

 M.C.L. § 445.1712. It authorizes civil actions and provides for statutory damages of

 $5,000, plus costs and reasonable attorney fees. See M.C.L. § 445.1715.

         In May 2016, the Michigan legislature amended the PPPA effective July 31,

 2016, but this does not apply retroactively to claims accruing prior to the effective

 date. See Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 439-41 (S.D.N.Y.

 2016) (“[T]he amendment to the [PPPA] does not apply to Plaintiffs’ claims, and the

 Court will assess the sufficiency of those claims under the law as it was when

 Plaintiffs’ claims accrued.”) (citations omitted herein unless noted). Because the

 claims alleged herein accrued, and thus vested, prior to the July 31, 2016 effective

 date of the amended version of the PPPA, the pre-amendment version of the PPPA

 applies in this case. See Horton v. GameStop, Corp., 380 F. Supp. 3d 679, 683 (W.D.


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 Mich. 2018).

  B. Pre-Filing Investigation

       Class Counsel conducted pre-filing investigations concerning every aspect of

 the factual and legal issues here—these extensive efforts included:

       • Researching the nature of Defendant’s business, its practices of
         selling magazines, consumer-privacy policies, and public
         statements concerning the same;

       • Interviewing numerous individuals in Michigan who subscribed to
         Defendant’s publications prior to July 31, 2016, including about
         their process of purchasing a subscription and any disclosures they
         received or agreed to during the purchase process;

       • Researching and analyzing Defendant’s list rental and other
         disclosure practices, including data cards and other public
         information available online concerning the practices prior to July
         31, 2016;

       • Analyzing versions of Defendant’s Privacy Policy, Terms of
         Service, and other public documents on its websites during the
         relevant time period;

       • Researching the relevant law and assessing the merits of a potential
         PPPA claim against Defendant and defenses that Defendant might
         assert thereto; and

       • Reviewing caselaw and statutes concerning the applicable limitation
         period for a PPPA claim, analyzing the arguments regarding a six-
         year period, and analyzing the arguments for the applicability of
         tolling pursuant to Michigan Supreme Court’s administrative orders
         issued during the COVID-19 pandemic (the “COVID Orders”).

 See Declaration of E. Powell Miller in Support of Plaintiffs’ Unopposed Motion For

 Preliminary Approval (“Decl.”) (Exhibit A) ¶ 5. As a result, Class Counsel


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 developed a viable theory of liability for a PPPA claim against Defendant and

 prepared a thorough Complaint against Defendant. Id. ¶ 6.

  C. History of the Litigation and Settlement Negotiations

       On August 3, 2022, Plaintiff Matthew Kotila filed the Class Action Complaint

 against Defendant. Compl. ECF No. 1. Plaintiff Kotila alleged that before July 30,

 2016, Defendant disclosed information related to its customers’ magazine

 subscription histories and personal reading habits without their consent in violation

 of the PPPA. Id. ¶¶ 1-2, 5-8, 41-48. On October 19, 2022, the Clerk of the Court

 entered the Default for Defendant’s failure to appear within the time specified by the

 Federal Rules of Civil Procedure. ECF No. 12. On June 5, 2023, the Court entered

 an Order (ECF No. 17) granting class certification and Mr. Kotila’s request to

 conduct discovery to identify the class members for the purpose of calculating

 damages.

       Thereafter, Mr. Kotila served numerous subpoenas on third parties seeking

 customer lists that they had received from Defendant during the relevant time period.

 See ECF No. 28-1, PageID.762. On August 16, 2023, Plaintiff Kotila filed a Motion

 for Default Judgment and Approval of Plaintiff’s Class Notice Plan. ECF Nos. 27,

 28. On September 21, 2023, Defendant, through newly appearing counsel, filed a

 motion to set aside the default. ECF No. 29.

       While the motions were pending, the Parties agreed to participate in a



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 mediation with Tom McNeill, Esq. of Tom McNeill ADR, PLLC. In advance of the

 mediation, the Parties had numerous discussions, and exchanged informal discovery,

 including on the size and scope of the putative class, which includes approximately

 2,168 persons, and Defendant’s financial condition and ability to fund a settlement.

 Decl. ¶ 11. The Parties also exchanged lengthy mediation briefing pertaining to the

 merits of the case. Id. On December 4, 2023, the Parties participated in a mediation

 with Mr. McNeill. Id. ¶ 12. The mediation lasted the entire day. While the Parties

 negotiated in good faith, they were unable to reach an agreement that day. Id.

 However, because significant progress was made, Mr. McNeill made a mediator’s

 proposal at the end of the mediation. On December 6, 2023, the Parties accepted Mr.

 McNeill’s mediator’s proposal, reached an agreement on all material terms of a class

 action settlement, and executed a term sheet. Id. ¶ 13.

        In the weeks following, the Parties negotiated and finalized the full-form

 Settlement Agreement, attached to the Decl. as Exhibit 1 thereto, selected a proposed

 Settlement Administrator, and worked together to finalize the Settlement Class List.

 Id. ¶ 14.

  D. Class Counsel’s History Litigating Michigan PPPA Claims

        The unprecedented result here would not have been possible without the

 significant investments of time and resources in the prosecution of PPPA actions

 over the past decade by Class Counsel—providing knowledge and experience, and



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 developing the body of PPPA jurisprudence necessary to achieve the Settlement

 Agreement. 3 Class Counsel’s accumulated knowledge and experience, in a niche

 area of law, was vital to prosecuting this litigation and to obtain the result achieved

 here.

         Beginning in 2015, Class Counsel began investigating and litigating cases

 against publishers for alleged PPPA violations. See Decl. ¶ 19. The theory of liability

 was novel. Although a few other cases had been filed against publishers, none had

 progressed through class certification or summary judgment. Id. Despite the

 uncertainty, Class Counsel litigated numerous PPPA issues of first impression, such

 as: (i) whether an alleged violation of the statute was sufficient to confer Article III

 standing; (ii) whether the statute violated the First Amendment on its face or as

 applied; (iii) whether plaintiffs could pursue class action claims for statutory

 damages in federal court under Rule 23 in light of M.C.R. 3.501(A)(5); and (iv)

 whether a 2016 amendment to the statute applied retroactively. Decl. ¶ 20. See, e.g.,

 Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427 (S.D.N.Y. 2016); Boelter v.

 Advance Magazine Publishers Inc., 210 F. Supp. 3d 579 (S.D.N.Y. 2016). Class



 3
        For example, in granting final approval to a similar class in Loftus v. Outside
 Integrated Media, LLC, No. 2:21-cv-11809 (E.D. Mich. Aug. 9, 2022), the
 Honorable Mark A. Goldsmith commended the work of the attorneys representing
 the class – the same counsel here – and noted that “the class has benefited in a
 concrete way” from the “very effective work” done by Plaintiff’s counsel. See Decl.,
 Exhibit 5, Aug. 8, 2022 Hearing Tr. at 7:13-17.

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 Counsel then conducted vigorous discovery, including in-depth research into data

 industry practices, such as data appending and data cooperatives, and ultimately

 third-party discovery from those companies. Decl. ¶ 21. Through that discovery,

 Class Counsel amassed a wealth of institutional knowledge regarding the data

 industry. Id. Class Counsel won a motion for summary judgment in Boelter v. Hearst

 Commc’ns, Inc., 269 F. Supp. 3d 172 (S.D.N.Y. 2017). Decl. ¶ 22. This summary

 judgment victory provided a roadmap to liability for publishers based on the above

 data industry practices. Id.

       Class Counsel then successfully argued that the amended version of the PPPA

 does not apply to claims that accrued prior to its effective date of July 31, 2016.

 Decl. ¶ 23. See Horton v. GameStop, Corp., 380 F. Supp. 3d 679, 683 (W.D. Mich.

 2018) (holding amended version of the PPPA does not apply to claims filed after its

 effective date of July 31, 2016 where the alleged disclosures occurred prior to the

 effective date). Id. And, in the above PPPA litigation, it was assumed that PPPA

 cases were governed by a 3-year statute of limitations. Decl. ¶ 24. See, e.g., Hearst,

 269 F. Supp. 3d at 189; Edwards v. Hearst Commc’ns, Inc., 2016 WL 6651563

 (S.D.N.Y. Nov. 9, 2016). Nonetheless, Class Counsel later recognized that the Sixth

 Circuit’s opinion in Palmer Park Square, LLC v. Scottsdale Ins. Co., 878 F.3d 530

 (6th Cir. 2017), and relevant Michigan authority, arguably provided a basis for

 applying a six-year limitation period to PPPA claims, and thus may provide an



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 avenue for class recovery under the original PPPA. Id. After conducting extensive

 pre-suit investigative analysis, Class Counsel initiated litigation with the six-year

 limitation period as its foundation. Id. Through Class Counsel’s advocacy, in Pratt,

 Judge Ludington issued a first-of-its-kind published opinion, finding that a six-year

 statute of limitations applies to PPPA claims. 4 Decl. ¶ 25. Pratt v. KSE Sportsman

 Media, Inc., 586 F. Supp. 3d 666, 675 (E.D. Mich. 2022). Other Michigan courts

 soon followed in accord. See, e.g., Krassick v. Archaeological Inst. of Am., No. 2:21-

 cv-180, 2022 WL 2071730, at *3 (W.D. Mich. June 9, 2022) (Jarbou, J.). The

 groundbreaking litigation led by Class Counsel paved the way for this and other

 PPPA cases. See, supra, e.g., Loftus, Kain, Strano, Moeller. Decl. ¶ 26.

       Moreover, for this and other PPPA cases filed within the same timeframe, the

 case relied on Class Counsel’s analysis and advocacy in regards to the COVID

 Orders. Decl. ¶ 17. In following this six-year limitation period, Class Counsel

 initially believed that the latest that a suit could reasonably be filed was by July 31,

 2022. Id. But, through extensive research and legal analysis, Class Counsel

 determined that the 101 days of tolling provided by the COVID Orders would allow

 a suit to be brought through October 2022. Id. Class Counsel have actively consulted



 4
        And as noted above, Judge Ludington recently finally approved the class
 action settlement in Pratt. See Pratt v. KSE Sportsman Media, Inc., No. 1:21-cv-
 11404, 2024 WL 113755 (E.D. Mich. Jan. 10, 2024) (approving $9.5 million class
 settlement which pays each class member approximately $415).

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 with other Michigan litigants who were pursuing this theory, including the appellate

 counsel in the COVID Orders cases which have now been taken up by the Michigan

 Supreme Court. Id. Again, it was through the efforts and legal acuity of Class

 Counsel that even permitted a viable theory of recovery for the Settlement Class.

 III.   KEY TERMS OF THE SETTLEMENT

        Class Definition. The “Settlement Class” is:

              [A]ll Michigan residents who subscribed to any of
              Defendant’s publications before July 31, 2016, and whose
              name, together with the name of the publication(s) to
              which they subscribed, were disclosed by Defendant (or
              any employee or agent of Defendant acting on
              Defendant’s behalf) at any time between April 25, 2016
              and July 30, 2016, to any third party without the consent
              of the subscriber. 5

 Settlement Agreement ¶ 1.31. 6

        Monetary Relief. Defendant shall establish a $1,000,000 non-reversionary

 Settlement Fund from which all Settlement Class Members who do not exclude

 themselves shall automatically receive a pro rata cash payment of approximately


 5
        Excluded from the Settlement Class are (1) any Judge or Magistrate presiding
 over this Action and members of their families; (2) the Defendant, Defendant’s
 subsidiaries, parent companies, successors, predecessors, and any entity in which the
 Defendant or its parents have a controlling interest and their current or former
 officers, directors, agents, attorneys, and employees; (3) Persons who properly
 execute and file a timely request for exclusion from the class; and (4) the legal
 representatives, successors or assigns of any such excluded persons. Id.
 6
       Plaintiffs can submit the full list of individual Class members for an in-camera
 review upon request of the Court.

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 $265 after payment of notice, administrative expenses, attorneys’ fees, and service

 awards to the proposed Class Representatives. Settlement Agreement ¶¶ 1.33, 2.1.

 No portion of the Settlement Fund will revert back to Defendant. Id. ¶ 2.1(h).

       Prospective Relief. As part of the Settlement, Defendant will agree not to

 disclose any Michigan customer information to any third-party companies without

 the prior express written consent of the affected customers, provided however, that

 nothing herein shall prevent Defendant from disclosing Michigan customer

 information to third parties as may be reasonably required to produce, deliver, bill,

 collect payment for, renew, and otherwise manage, market, and fulfill orders for

 Defendant’s publications, or as otherwise permitted by M.C.L. § 445.1713 or other

 applicable law. Id. ¶ 2.2.

       Release. In exchange for the $1,000,000 cash payment, Defendant (and all

 “Released Parties” — defined in Settlement Agreement ¶ 1.27) will receive a full

 release of all claims arising out of or related to Defendant’s disclosure of its

 Michigan customers’ magazine subscription information. See Settlement Agreement

 ¶¶ 1.26-1.28 for full release language.

       Notice and Administration Expenses. The Settlement Fund will be used to

 pay the cost of sending the Notice set forth in the Settlement Agreement and any

 other notice as required by the Court, as well as all costs of administration of the

 Settlement. Settlement Agreement ¶¶ 1.29, 1.30, 1.33.



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       Service Award. In recognition of their efforts on behalf of the Settlement

 Class, Defendant agrees that Plaintiffs may receive, subject to Court approval, a

 service award of $5,000 each from the Settlement Fund, as appropriate

 compensation for their time, effort, and leadership as class representatives.

 Settlement Agreement ¶ 8.3; Decl. ¶¶ 35-38 (detailing same).

       Attorneys’ Fees and Expenses. As part of the Settlement Agreement,

 Defendant has agreed that Class Counsel are entitled to reasonable attorneys’ fees in

 an amount to be determined by the Court by petition. Class Counsel has agreed to

 limit its request for fees, costs, and expenses to 35% of the Settlement Fund.

 Settlement Agreement ¶¶ 1.33, 8.1; see also infra § VI.A (listing PPPA cases where

 fee requests of 35% or more were approved).

 IV.   THE PROPOSED CLASS IS APPROPRIATE FOR CERTIFICATION
       FOR SETTLEMENT PURPOSES

       Before granting preliminary approval of the proposed Settlement, the Court

 must determine that the proposed settlement class is appropriate for certification. See

 Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997). Class certification is

 proper if the proposed class satisfies the numerosity, commonality, typicality, and

 adequacy of representation requirements. Fed. R. Civ. P. 23(a); see Amgen Inc. v.

 Conn. Ret. Plans and Tr. Funds, 568 U.S. 455, 460 (2013). Also, because Plaintiffs

 seek certification under Rule 23(b)(3), they must demonstrate that common

 questions of law or fact predominate over individual issues and that a class action is


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 the superior device to adjudicate the claims. Amchem, 521 U.S. at 615-16. District

 courts are given broad discretion to determine whether certification of a class action

 lawsuit is appropriate. In re Whirlpool Corp. Front-Loading Washer Prod. Liab.

 Litig., 722 F.3d 838, 850 (6th Cir. 2013). As explained below, the proposed

 Settlement Class satisfies all of the Rule 23(a) and 23(b)(3) prerequisites, and thus,

 should be certified.

       In the only PPPA case to reach decision on a contested class certification

 motion, Judge Steeh granted certification. See Coulter-Owens v. Time, Inc., 308

 F.R.D 524 (E.D. Mich. 2015). And similar classes have been certified for settlement

 purposes in other PPPA cases. The proposed Settlement Class here likewise should

 be certified.

  A. The Numerosity Requirement Is Satisfied

        Numerosity is met when joining a large number of plaintiffs in one case would

 be impracticable. Fed. R. Civ. P. 23(a)(1); In re Am. Med. Sys., Inc., 75 F.3d 1069,

 1079 (6th Cir. 1996). Though there is no fixed number determining impracticability,

 “[i]n most cases, a class in excess of forty members will do.” Curry v. SBC

 Commc’ns, Inc., 250 F.R.D 301, 310 (E.D. Mich. 2008). Only a reasonable estimate

 is required. McDonald v. Asset Acceptance LLC, 296 F.R.D. 513, 520 (E.D. Mich.

 2013). Here, there are approximately 2,168 persons in the Settlement Class. Decl. ¶

 11. Thus, joinder would be impractical and thus numerosity is therefore satisfied.



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  B. The Commonality Requirement Is Satisfied

       Commonality is satisfied under Rule 23(a)(2) when there are questions of law

 or fact common to the class—the resolution of which will bring a class-wide

 resolution of the claims. Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551

 (2011). And even a single question will do. See Whirlpool, 722 F.3d at 582-83.

       Here, Plaintiffs allege that all class members’ claims hinge on two common

 questions, one factual and one legal: (1) whether Defendant disclosed its customers’

 protected personal reading information to third parties between April 25, 2016 and

 July 30, 2016; and (2) whether such disclosures violated the PPPA. Plaintiffs

 contend that both can be answered on a class-wide basis with common proof which

 will drive the litigation forward. See, e.g., Parker v. Time Warner Ent. Co., L.P., 239

 F.R.D. 318, 329 (E.D.N.Y. 2007) (in a case about disclosure of plaintiff’s statutorily-

 protected information without proper notification, commonality found where claims

 were based on same legal theory and factual question). Numerous courts have

 certified PPPA claims, finding commonality satisfied. See, Coulter-Owens, 308

 F.R.D. at 532-34 (litigation found to be “driven by issues that are common” to the

 entire class); see also Pratt v. KSE Sportsman Media, Inc., No. 1:21-CV-11404,

 2023 WL 5500832, at *3 (E.D. Mich. Aug. 25, 2023) (finding commonality satisfied

 in PPPA case and preliminarily approving class settlement where “[b]oth questions




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 are common to all members of the Class and can be answered on a class-wide basis

 with common proof which will drive the litigation forward”).

       Given that there are multiple questions of law and fact common to members

 of the Settlement Class, the commonality requirement is satisfied.

  C. The Typicality Requirement Is Satisfied

       Typicality requires that a class representative has claims that are typical of

 those of other class members. Fed. R. Civ. P. 23(a)(3). “Typicality determines

 whether a sufficient relationship exists between the injury to the named plaintiff and

 the conduct affecting the class, so that the court may properly attribute a collective

 nature to the challenged conduct.” Am. Med. Sys., 75 F.3d at 1082. “Typicality may

 be presumed when the plaintiff’s claim arises from the same event or practice or

 course of conduct that gives rise to the claims of other class members.” Gilkey v.

 Cent. Clearing Co., 202 F.R.D. 515, 524 (E.D. Mich. 2001). In other words, when

 the basis of the suit is the defendant’s systematic business practices towards the

 named plaintiff and the members of the proposed class, typicality is satisfied.

       Plaintiffs allege that Defendant’s disclosure of their subscription information

 was part of its standard business practice of disclosing its customers’ subscription

 information to third parties without consent. Compl. ¶¶ 1-2, 5-8, 41-48. And this was

 true for that of all Settlement Class Members, who had their information disclosed

 to the same third parties and for the same purpose—and that these practices thus



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 violated the PPPA. And to redress such violations, the PPPA authorizes each

 Settlement Class Member to recover the same statutorily-set damages ($5,000).

 Thus, Plaintiffs’ pursuit of their own claims here will necessarily advance the

 interests of the Settlement Class, satisfying the typicality requirement. See, e.g.,

 Coulter-Owens, 308 F.R.D. at 534-35

  D. The Adequacy Requirement Is Satisfied

       Class representatives under Fed. R. Civ. P. 23(a)(4) must fairly and adequately

 protect the interests of the class. In order to do so, “(1) the representatives must have

 common interests with unnamed members of the class, and (2) it must appear that

 the representatives will vigorously prosecute the interests of the class through

 qualified counsel.” Int’l Union v. Ford Motor Co., 2006 WL 1984363, at *19 (E.D.

 Mich. July 13, 2006). The representatives must be part of the class, possess the same

 interest, have suffered the same injury, and seek the same type of relief as other class

 members. See Beattie v. CenturyTel, Inc., 511 F.3d 554, 562 (6th Cir. 2007).

       In this case, the Complaint alleges that Plaintiffs—like each Settlement Class

 Member—purchased a magazine subscription from Defendant while residing in

 Michigan and had their subscription information disclosed to third parties without

 their consent. Compl. ¶¶ 9, 41-48. Thus, Plaintiffs and Settlement Class Members

 have the exact same interest in recovering the statutory damages to which they are




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 entitled under the PPPA. As such, Plaintiffs do not have any interest antagonistic to

 those of the proposed Settlement Class.

       Likewise, proposed Class Counsel have extensive experience in litigating

 similar class actions. Decl. ¶¶ 27-29. Class Counsel regularly engage in consumer

 privacy cases, have the resources necessary to prosecute this case, and have

 frequently been appointed lead class counsel. Id.; see Firm Resumes (attached to

 Decl. as Exhibits 2-4 thereto).

       Class Counsel have devoted substantial resources to the prosecution of this

 action by investigating Plaintiffs’ claims and that of the Settlement Class, obtaining,

 reviewing and analyzing discovery, participating in mediation, and ultimately,

 negotiating a settlement that provides an excellent ever per-class member recovery

 in a PPPA case, despite the substantial litigation risks that were present. Decl. ¶¶ 5-

 15. In sum, proposed Class Counsel have vigorously prosecuted this action and will

 continue to work diligently on behalf of the Settlement Class throughout the

 settlement administration process. Id.

       Because Plaintiffs and proposed Class Counsel have demonstrated their

 commitment to representing the Settlement Class and neither have interests

 antagonistic to the Settlement Class, the adequacy requirement is satisfied.




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  E. The Proposed Settlement Class Meets Rule 23(b)(3) Requirements

       After meeting the prerequisites of Rule 23(a), a plaintiff seeking class

 certification must also show that the action qualifies under at least one of the

 categories outlined in Rule 23(b). Fed. R. Civ. P. 23(b); see also Merenda v. VHS of

 Michigan, Inc., 296 F.R.D. 528, 535 (E.D. Mich. 2013). Here, Plaintiffs seek

 certification under Rule 23(b)(3), which requires that (i) common questions of law

 and fact predominate over individualized ones, and that (ii) a class action is superior

 to the other available methods for the fair and efficient adjudication of the

 controversy. Fed. R. Civ. P. 23(b)(3). As explained below, the proposed Settlement

 Class meets these requirements.

   1. Common Questions Predominate

       Fed. R. Civ. P. 23(b)(3)’s predominance requirement focuses on whether the

 defendant’s liability is common enough to be resolved on a class basis, Dukes, 564

 U.S. at 349-60, and whether the proposed class is “sufficiently cohesive to warrant

 adjudication by representation.” Amchem, 521 U.S. at 623. The Rule 23(b)(3)

 predominance requirement is akin to the commonality requirement Rule 23(a) “in

 that both require that common questions exist, but [Rule 23](b)(3) contains the more

 stringent requirement that common issues ‘predominate’ over individual issues.”

 Machesney v. Lar-Bev of Howell, Inc., 317 F.R.D. 47, 61 (E.D. Mich. 2016). In other

 words, where commonality is satisfied when there is a single factual or legal question



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 common to the class, the “predominance requirement is met if this common question

 is at the heart of the litigation.” Powers v. Hamilton Cty. Pub. Def. Comm’n, 501

 F.3d 592, 619 (6th Cir. 2007). As such, “cases alleging a single course of wrongful

 conduct are particularly well-suited to class certification.” Id.

       Here, Defendant’s alleged common course of conduct presents multiple

 questions of law and fact that are central to liability, predominating over any issues

 affecting individual class members. Thus, courts have regularly found common

 questions to predominate over individual issues in the course of approving PPPA

 settlements. See, e.g., Coulter-Owens, 308 F.R.D. at 536. Defendant engaged in a

 single course of conduct with respect to all members of the Settlement Class, so their

 claims “will prevail or fail in unison”—thus, predominance is met. Whirlpool, 722

 F.3d at 859.

   2. A Class Action Is a Superior Mechanism

       A class action is also the superior means of adjudicating this case because it

 “achieve[s] economies of time, effort and expense and promote[s] . . . uniformity of

 decision as to persons similarly situated.” Amchem, 521 U.S. at 615. A class action

 is preferred over small individual suits because it provides a mechanism through

 which individuals who may not otherwise have the opportunity to seek redress

 through litigation. Young v. Nationwide Mut. Ins. Co., 693 F.3d 532, 545 (6th Cir.

 2012). Claims alleging a standard course of conduct are particularly well-suited for



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 class certification because they facilitate efficiency and uniformity. Id. As held in

 Coulter-Owens, “it makes sense to proceed as a class action and address the issues

 one time rather than [in] potentially hundreds of separate cases.” 308 F.R.D. at 537.

 V.    PLAINTIFFS’ COUNSEL SHOULD BE APPOINTED CLASS
       COUNSEL

       Under Fed. R. Civ. P. 23(g)(1)(B), “a court that certifies a class must appoint

 counsel . . . [to] fairly and adequately represent the interests of the class.” The Court

 considers proposed class counsel’s: (1) work in identifying or investigating the

 potential claim, (2) experience in handling class actions, other complex litigation,

 and the types of claims asserted in the action, (3) knowledge of the applicable law,

 and (4) resources that it will commit to representing the class. Fed. R. Civ. P.

 23(g)(1)(A)(i)–(iv).

       As discussed, proposed Class Counsel have extensive experience in

 prosecuting consumer class actions in general, and privacy class actions specifically.

 See § IV.D, supra. And as a result of their zealous efforts in this case, they secured

 an excellent per class member recovery in this PPPA case. Thus, the Court should

 formally appoint proposed Class Counsel as Class Counsel.

 VI.   PRELIMINARY SETTLEMENT APPROVAL IS APPROPRIATE

       Settlement of class action suits is favored. NEWBERG ON CLASS ACTIONS, §

 11.41 (4th ed. 2002) (“The compromise of complex litigation is encouraged by the

 courts and favored by public policy.”). The first step is a “preliminary, pre-


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 notification hearing to determine whether the proposed settlement is within the range

 of possible approval.” In re Packaged Ice Antitrust Litig., 2010 WL 3070161, at *4

 (E.D. Mich. Aug. 2, 2010). A court makes an “initial evaluation” of the fairness of

 the proposed settlement. MANUAL FOR COMPLEX LITIGATION § 21.632 (4th ed. 2004).

       Fed. R. Civ. P. 23(e)(2) provides factors for the Court to determine if a

 settlement is “fair, reasonable, and adequate,” examining whether: (A) class

 representatives and class counsel have adequately represented the class; (B) the

 proposal was negotiated at arm’s length; (C) the relief provided for the class is

 adequate, reviewing: (i) the costs, risks, and delay of trial and appeal; (ii) the

 effectiveness of any proposed method of distributing relief to the class, including the

 processing of class-member claims; (iii) the terms of any proposed attorney’s fee,

 including timing of payment; and (iv) any agreement required to be identified under

 Rule 23(e)(2); and (D) the proposal treats class members equitably relative to each

 other. Fed. R. Civ. P. 23(e)(2).

       In addition, the Sixth Circuit has laid out its own factors to consider. See UAW

 v. Gen. Motors Corp., 497 F.3d 615, 631 (6th Cir. 2007). They are: “(1) the risk of

 fraud or collusion; (2) the complexity, expense and likely duration of the litigation;

 (3) the amount of discovery engaged in by the parties; (4) the likelihood of success

 on the merits; (5) the opinions of class counsel and class representatives; (6) the

 reaction of absent class members; and (7) the public interest.” Id.



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  A. The Rule 23(e)(2) Factors Weigh in Favor of Preliminary Approval

          This Settlement easily satisfies the Rule 23(e)(2) factors.

          First, Plaintiffs and Class Counsel have adequately represented the class,

 securing the best-ever per-class member recovery. See Introduction, supra.

          Second, the Settlement was negotiated at arm’s-length through mediation

 after exchanging information sufficient to assess the strengths and weaknesses of the

 case, and Defendant’s financial condition. See supra.

          Third, the relief is adequate. The Settlement Agreement provides for the

 receipt of cash payments of roughly $265 for Settlement Class Members without

 even filing a claim form as well as robust prospective relief. Settlement Agreement

 ¶¶ 2.1-2.2. Attorneys’ fees and costs are consistent with other PPPA settlements. See

 supra.

          Fourth, the proposed Settlement treats Settlement Class Members equitably to

 each other as every Settlement Class Member will receive an identical pro rata cash

 payment under the Settlement. Settlement Agreement ¶ 2.1.

          Finally, all terms affecting the Settlement Class are contained within the

 Settlement Agreement.

  B. The Sixth Circuit’s UAW Factors Weigh in Favor of Preliminary Approval

          All seven UAW factors favor approval or, at least, are neutral.

   1. There Is No Risk of Fraud or Collusion.

          The first UAW factor is “the risk of fraud or collusion.” UAW, 497 F.3d at

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 631. “Courts presume the absence of fraud or collusion in class action settlements.”

 Leonhardt v. AvrinMeritor, Inc., 581 F. Supp. 2d 818, 838 (E.D. Mich. 2008). Here,

 a non-collusive settlement was reached through arm’s-length negotiations via a

 neutral mediator. See Sheick v. Auto. Component Carrier, LLC, 2010 WL 3070130,

 at *13 (E.D. Mich. Aug. 2, 2010) (“[N]egotiations of the Settlement Agreement were

 conducted at arm’s-length by adversarial parties and experienced counsel, which

 itself is indicative of fairness, reasonableness, and adequacy.”).

   2. Litigation Through Trial Would Be Complex, Costly, and Long.

       The second UAW factor is “the complexity, expense and likely duration of the

 litigation.” UAW, 497 F.3d at 631. Most class actions are inherently risky, and thus

 “[t]he obvious costs and uncertainty of such lengthy and complex litigation weigh

 in favor of settlement.” UAW, 2006 WL 891151, at *17.

       Here, Defendant has moved to set aside the default entered against it and has

 opposed Plaintiffs’ Motion for Default Judgment. Decl. ¶¶ 9; ECF Nos. 29, 39. And

 throughout this litigation, Plaintiffs have engaged in significant discovery through

 third-party subpoenas. Id. ¶ 8. Absent a settlement, further discovery, dispositive

 motions, and depositions would follow. Defendant indicated that it would continue

 to assert numerous defenses to both class certification and the merits, including that

 it did not sell Financial Advisor “at retail,” as is required to be within the purview

 of the PPPA, and that the case is time-barred. Class Counsel is also aware that



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 Defendant would prepare a competent defense at trial and would appeal any adverse

 result at trial (and any order certifying a class). Id. ¶ 32. This would result in lengthy

 and expensive litigation.

       Rather than pursuing protracted and uncertain litigation, Plaintiffs and their

 counsel negotiated a Settlement Agreement that provides immediate, certain, and

 meaningful relief. The second factor weighs in favor of finding the Settlement fair,

 reasonable, and adequate. See Borcea v. Carnival Corp., 238 F.R.D. 664, 674 (S.D.

 Fla. 2006).

   3. Discovery Has Allowed the Parties to Resolve the Case Responsibly.

       The third factor is “the amount of discovery engaged in by the parties.” UAW,

 497 F.3d at 631. Prior to filing, Class Counsel conducted a wide-ranging

 investigation into Defendant’s practices, described supra, and obtained several key

 documents evidencing those practices. See Decl. ¶ 5. Moreover, during informal

 discovery and in settlement negotiations, Plaintiffs obtained wide-ranging discovery

 from Defendant and third parties on issues pertaining to class certification, the

 merits, and Defendant’s ability to withstand a classwide judgment. Id. ¶ 11.

       This information and material enabled Plaintiffs and their counsel to properly

 assess the strengths and weaknesses of the claims and defenses and to negotiate a

 Settlement that is fair, reasonable, and adequate. Id. Class Counsel’s experience in

 similar cases, and the efforts made by counsel on both sides, confirms that they are



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 sufficiently well apprised of the facts here and the viability of their respective cases

 to make an intelligent analysis of the proposed settlement. Accordingly, the third

 factor weighs in favor of finding the Settlement fair, reasonable and adequate.

   4. Plaintiffs Would Face Real Risks if the Case Proceeded.

       The fourth UAW factor is “the likelihood of success on the merits.” UAW, 497

 F.3d at 631. Although Plaintiffs believe their case is strong, it is not without risk. As

 mentioned, Plaintiffs moved for default judgment, and in turn, Defendant moved to

 vacate the clerk’s entry of default. ECF Nos. 27, 29. Both motions remain pending.

 If the Court vacated the default, lengthy discovery and motion practice would follow.

 Defendant would likely argue that individual questions preclude class certification,

 that a class action is not a superior method, and that a trial would not be manageable.

 And even if the Court certified a class, Defendant would likely challenge

 certification through a Rule 23(f) application and then move to decertify. Defendant

 would also continue to assert numerous defenses on the merits, including that it does

 not sell Financial Advisor “at retail,” as required to come into the purview of the

 PPPA.

       Moreover, even if Plaintiffs survived all of those obstacles, they faced

 significant risk in recovering a classwide judgment. Indeed, this case presents a

 unique risk on statute of limitations questions, because its timeliness depends on the

 applicability of the Michigan Supreme Court’s orders tolling the statute of



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 limitations during the early days of the COVID-19 pandemic. See ECF No. 45,

 PageID.951 at n.2. And while this Court has held that the Michigan Supreme Court’s

 COVID tolling orders are applicable to a PPPA case, see Gottsleben v. Informa

 Media, Inc., No. 1:22-cv-866, 2023 WL 4397226, at *3-4 (W.D. Mich. July 7, 2023),

 the constitutionality of those orders is currently being addressed by the Michigan

 Supreme Court. See Armijo v. Bronson Methodist Hosp., 991 N.W.2d 593 (Mich.

 2023) (setting briefing schedule and directing the scheduling of oral argument). An

 adverse decision could have deprived the Settlement Class of any recovery

 whatsoever. And, even if Plaintiffs survived Armijo, Plaintiffs would face additional

 challenges in prevailing because of the fragile nature of Defendant’s financial

 condition; accordingly, Defendant would likely be unable to withstand a classwide

 judgment.

       The risks of losing on the merits, of losing class certification, of maintaining

 certification through trial, and of collecting on any classwide judgment, were all

 significant hurdles to obtaining classwide relief in this case. The Settlement

 eliminates this risk, as well as the attendant expense and delay. Accordingly, the

 fourth factor also favors preliminary approval.

   5. Proposed Class Counsel and Class Representative Support the Settlement

       The fifth UAW factor is “the opinions of class counsel and class

 representatives.” UAW, 497 F.3d at 631. “The endorsement of the parties’ counsel



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 is entitled to significant weight, and supports the fairness of the class settlement.”

 UAW, 2008 WL 4104329, at *26. Here, both proposed Class Counsel and the Class

 Representatives support the Settlement. See Decl. ¶ 34. This UAW factor, therefore,

 favors preliminary approval.

   6. The Reaction of Absent Class Members.

       The sixth UAW factor is “the reaction of absent class members.” UAW, 497

 F.3d at 631. Notice has not yet been disseminated, and the Settlement Class has

 accordingly not yet had an opportunity to voice any opposition to (or support for)

 the Settlement. Nonetheless, Plaintiffs and Class Counsel strongly support the

 Settlement, which they believe is fair, reasonable, and adequate and in the best

 interest of the Settlement Class. Accordingly, the sixth factor weighs in favor of

 preliminary approval.

   7. The Settlement Serves the Public Interest.

       The seventh and final UAW factor is “the public interest.” UAW, 497 F.3d at

 631. Settlements may serve the public interest by advancing a statute’s goals or by

 conserving judicial resources. See In re Cardizem CD Antitrust Litigation, 218

 F.R.D. 508, 530 (E.D. Mich. 2003). The Settlement here accomplishes both.

       First, “[t]here is a strong public interest in encouraging settlement of complex

 litigation and class action suits because they are notoriously difficult and

 unpredictable and settlement conserves judicial resources.” Id. Further, when



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 individual class members seek a relatively small amount of statutory damages,

 “economic reality dictates that [their] suit proceed as a class action or not at all.”

 Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 161 (1974). Here, if the Settlement does

 not receive the Court’s final approval, the Parties anticipate a complex and lengthy

 litigation that would continue and would require significantly more motion practice

 and potential appeals. See Sims v. Pfizer, Inc., 2016 WL 772545, at *9 (E.D. Mich.

 Feb. 24, 2016) (finally approving settlement and finding that “absent settlement, all

 class members would be subject to the uncertainties, hardship, and delay attendant

 to continued litigation”). Thus, by avoiding complex class action litigation that can

 consume a court’s time and money, the Settlement furthers the public interest.

       Second, the Settlement also serves the public interest by furthering the

 objectives of the Michigan legislature in enacting the PPPA. The PPPA recognizes

 that “one’s choice in videos, records, and books is nobody’s business but one’s

 own.” House Legis. Analysis Section, H.B. No. 5331. Class action litigation in this

 area is a means of safeguarding the privacy of readers under the PPPA, especially

 because some consumers may be unaware of the data sharing practices alleged here

 (i.e., that Defendant disclosed its customers’ personal reading information without

 their consent). This factor therefore supports preliminary approval.

       Thus, all of the UAW factors weigh in favor of approval. Because the

 settlement on its face is fair, reasonable, and adequate, and not a product of collusion,



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 the Court should grant preliminary approval.

 VII. THE NOTICE PLAN SHOULD BE APPROVED IN FORM AND
      SUBSTANCE

        “For any class certified under Rule 23(b)(3) . . . the court must direct to class

 members the best notice that is practicable under the circumstances, including

 individual notice to all members who can be identified through reasonable effort.”

 Fed. R. Civ. P. 23(c)(2)(B); see also Eisen, 417 U.S. at 173. Further, “[t]he court

 must direct notice in a reasonable manner to all class members who would be bound

 by the proposal.” Fed. R. Civ. P. 23(e)(1)(B). The substance of the notice to the

 settlement class must describe in plain language the nature of the action, the

 definition of the class to be certified, the class claims and defenses at issue, that class

 members may enter an appearance through counsel if so desired, that class members

 may request to be excluded from the settlement class, and that the effect of a class

 judgment shall be binding on all class members. See Fed. R. Civ. P. 23(c)(2)(B).

 Notice is “adequate if it may be understood by the average class member.”

 NEWBERG, § 11:53 at 167.

        Here, the Parties have agreed upon a multi-part notice plan that easily satisfies

 the requirements of both Rule 23 and Due Process. First, the Settlement

 Administrator (“Administrator”) will send direct notice by U.S. mail to all

 Settlement Class Members for whom the Administrator has been able to identify a

 postal address which it concludes has a reasonable likelihood of reflecting the


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 current residence of such Settlement Class Member. Settlement Agreement ¶

 4.1(b)(ii); Settlement Agreement Ex. B. If more than one postal address is identified,

 the Administrator will send the notice by U.S. mail to both addresses, and each notice

 will indicate the address to which the Settlement Class Member’s cash award check

 will be sent. Id. ¶ 4.1(b)(iii). Next, for any Settlement Class Member for whom the

 Administrator is unable to identify at least one postal address, the Administrator will

 send notice via email. Id. ¶ 4.1(b)(iv); Settlement Agreement Ex. A. Further, the

 Administrator will establish a Settlement Website that shall contain the “long form

 notice” (see Settlement Agreement Ex. C), as well as access to important Court

 documents, upcoming deadlines, and the ability to file claim forms online (if needed

 for any unidentified class members), or an updated postal address. Id. ¶ 4.1(c).

 Finally, the Administrator will also provide notice of the Settlement to the

 appropriate state and federal officials as required by CAFA, 28 U.S.C. § 1715. Id. ¶

 4.1(d).

 VIII. CONCLUSION

       Based on the above, Plaintiffs respectfully request that the Court grant their

 Unopposed Motion for Preliminary Approval of the Settlement. A Proposed Order 7

 granting preliminary approval, certifying the Settlement Class, appointing Class



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        Of note, the Proposed Order includes a relatively elongated schedule to ensure
 sufficient timing for Defendant to fully fund the Settlement.

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 Counsel, and approving the Proposed Notice of Settlement is submitted herewith

 (attached as Exhibit B).

 Dated: February 16, 2024            Respectfully submitted,


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                 CERTIFICATE REGARDING WORD COUNT

       Plaintiffs Matthew Kotila and Robert Craun, in compliance with W.D. Mich.

 LCivR 7.2(b)(i)-(ii), used 7,317 words in Plaintiffs’ foregoing brief. Microsoft Word

 for Office 365 Business version 1910 is the word processing software used to

 generate the word count in the attached brief.

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                          CERTIFICATE OF SERVICE

       I, E. Powell Miller, an attorney, hereby certify that on February 16, 2024, I

 served the above and foregoing Brief in Support of Plaintiffs’ Unopposed Motion

 for Preliminary Approval of Class Action Settlement on all counsel of record by

 filing it electronically with the Clerk of the Court using the CM/ECF filing system.


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